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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

 DENISE BOYD,                                                  CIVIL ACTION
 ROBERT DIMENNA,
 WILLIAM GUERRA, AND
 WILLIAM WARNER                                                No. 17-0352

                        Plaintiffs,

         v.


 MIDLAND FUNDING LLC,            ET AL.

                        Defendants.


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       It is hereby stipulated that, pursuant to the agreement of counsel and Rule 41.1(b) of the

Local Rules of Civil Procedure, the above-captioned matter has been settled and is dismissed

with prejudice as to all parties, with each party to bear their own costs.


 /s/ Joseph M. Adams                                /s/ Lauren M. Burnette
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Dated: November 4, 2021
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 4, 2021, a copy of the foregoing document was served

on all counsel of record via CM/ECF.

                                                         /s/ Joseph M. Adams
                                                         Joseph M. Adams, Esq.




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